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                                                                                 2020 Apr-27 PM 04:42
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                           JASPER DIVISION

 KATIE DOZIER                                       )
                                                    )
       Plaintiff,                                   )
                                                    )
                                                    )   CASE NO.:
                                                    )
 Vs.                                                )   6:20-cv-000569-LSC
                                                    )
 CITY OF JASPER                                     )   Plaintiff Demands Trial
                                                    )   By Struck Jury
                                                    )
                                                    )

                             AMENDED COMPLAINT

                               NATURE OF CLAIMS

1.     This is an action under the Family’s First Coronavirus Response Act of 2020

(FFCRA) Public Law 116-127, the Emergency Family Paid Sick Leave Act of 2020

(EPSLA), and the Emergency Family Medical Leave Expansion Act of 2020

(EFMLEA) both a part of the FFCRA, to correct and remedy unlawful employment

practices of the Act and to make whole and compensate the plaintiff for having

interfered with plaintiff’s established rights.

                          JURISDICTION AND VENUE

2.     This court has jurisdiction of the federal claims asserted here pursuant to §§

1331 and 1343 of Title 28 (28 U.S.C.A. §§ 1331, 1343). This court would have

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supplemental jurisdiction over the claim in this action arising under the law of the

State of Alabama and the principles of pendent jurisdiction.

3.    The unlawful employment practices complained of in this complaint occurred

within the Northern District of Alabama, and venue is proper within this District and

Division.

                                     PARTIES
4.    The plaintiff is a female over the age of nineteen (19) and a resident of Walker

County, Alabama. The plaintiff was at all times relevant to the matters alleged

herein, an employed by the City of Jasper as a laborer with the Parks and Recreation

Department and eligible for paid leave under the Act.

5.    Defendant, City of Jasper, is an Alabama municipal corporation organized

under the laws of the State of Alabama (hereinafter the City). The City, at all

pertinent times, was and is a public sector employer with less than 500 employees

for each working day in each of twenty or more calendar weeks in each relevant

calendar year and meets the definition of “employer” set forth in the Act.

                          FACTUAL ALLEGATIONS

6.    On April 16, 2016 Dozier was hired by the City as a laborer in the Parks and

Recreation Department.




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7.      On February 17, 2018 Dozier was promoted to a full-time hourly employee

earning $12.13 per hour.

8.      Dozier is a single mother with two children ages 2 and 13 years old.

9.      As of March 19, 2020, Dozier’s 13 year old child could not attend school

because school was closed due to the Coronavirus mitigation policies implemented

by the Walker County School Board for the remainder of the 2020 academic school

year.

10.     As of March 19, 2020, Dozier’s 2 year old child could no longer attend day-

care because of county and statewide shelter-in-place executive orders by the

Governor closing all non-essential businesses.

11.     As a laborer, Dozier was required to be on site to work her job, which did not

allow for telecommuting or working from home.

12.     Dozier was and is without any friend or relative to care for her children while

she was expected to be at work.

13.     Dozier had previously been approved to take FMLA leave to have surgery

performed starting March 20, 2020. However, on March 19, 2020, Dozier’s surgery

was cancelled due to the Coronavirus, so Dozier informed her supervisor Keith Laird

of the same, and asked if she could be allowed to take leave under the Family First



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Coronavirus Relief Act so that she could stay home and take care of her children

because schools and daycares had closed and she could not find a sitter for them.

14.   Dozier’s supervisor Laird approved Dozier’s request to be off, but rather than

granting Dozier leave under the Act, the City required Dozier to use her own

personal leave – vacation and sick time, to be compensated during her time-off, and

Dozier’s supervisor told Dozier that the City would check to see if she qualified for

leave under the Act.

15.   After having exhausted her personal leave bank, on April 6, 2020, Dozier

contacted the mayor and chief executive officer for the City, David O’Mary, by

telephone and again requested paid sick leave and paid leave under the FFCRA.

16.   During her conversation, Dozier again informed the City her children were

home due to Coronavirus and that she had no family, friend, babysitter, other day

care that could take care of her children while she had to work.

17.   Dozier requested the City give her 12 weeks of paid time-off as allowed under

the Act.

18.   Mayor O’Mary stated he did not know what she was talking about and asked

Dozier to send him information about the Act.




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19.    When Dozier got off the phone with O’Mary, she sent him a text message

with a link to the Department of Labor guidance page on FFCRA. (See Exhibit A

attached hereto and incorporated herein by reference.)

20.    On April 8, 2020, Dozier also sent O’Mary an email with a copy of “Your

Rights” flyer under the FFCRA published by the US Department of Labor. (See

Exhibit B attached hereto and incorporated herein by reference.)

21.    On April 8, 2020, O’Mary responded by email stating he was having the City

Clerk Kathy Chambliss contact the Department of Labor to determine Dozier’s

eligibility under the FSCRA, which is incorporated herein below:

From: David OMary
Date: Wed, Apr 8, 2020, 8:51 AM
Subject: Re: Katie Dozier EFLEA
To: Katie Dozier
Katie, Kathy Chambless is making an inquiry to the Alabama Dept. of labor as to your
eligibility. This let will let us know exactly where we are at. May take a few days. Will let
you know as soon as I hear something.



22.    On April 16, 2020, O’Mary emailed Dozier informing her they never heard

back from the Department of Labor and that they hired an attorney in Birmingham,

AL to determine her eligibility, which is incorporated herein below:

From: David OMary
Date: Thu, Apr 16, 2020, 11:58 AM
Subject: Re: FFCRA_Poster_WH1422_Non-Federal.pdf
To: Katie Dozier


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I have just hired a Birmingham law firm to give us an opinion on your situation. The
Dept. Of Labor never got back with us.



23.    On April 23, 2020 O’Mary contacted Dozier by telephone and told her he had

purportedly talked to the City’s lawyer and that she was exempt under the FFCRA

and did not qualify for benefits.

24.    O’Mary told Dozier if she did not come to back to work her employment

would be terminated.

25.    On April 23, 2020 Dozier emailed O’Mary and asked that he reconsider his

decision refusing her request for leave under the FFCRA, which is incorporated

herein below:

On Thu, Apr 23, 2020 at 5:50 PM Katie Dozier wrote:
Mayor, since we talked today I have been crying and upset and do not know what I am
going to do. I am a single mother and do not have anyone that can take care of my kids
who are not in school or daycare now, because the schools are shut down because of
this covid virus and I do not want to loose my job and insurance for me and my kids
especially right now. I thought that I was going to be covered under the new covid act
and would not have to use my leave and vacation- time that I have worked so hard for. I
understand that you are saying I am not covered under the act and paper that was given
to us, but is there anything else that you can do to help now that I don't have any time
left. I have always tried to be a good worker and do my job without causing any problems.
I do not have anywhere else to turn.



26.    On April 24, 2020, the City’s Chief Financial Officer and Clerk, Kathy

Chambliss, telephoned Dozier and told her she needed to apply for unemployment

because the City was not approving her request for leave under the Act.

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27.   That despite knowing the financial hardship Dozier was under and the rights

due to her under the FFCRA for having a COVID-19 qualifying condition, Mayor

O’Mary, acting on behalf of the City of Jasper, intentionally, purposefully, and

willfully disregarded Dozier’s rights under the Act by denying her paid leave.

                           FIRST CLAIM FOR RELIEF

                            (Interference with FFCRA)

28.   The plaintiff incorporates and realleges paragraphs 1 through 27 of this

complaint as if fully set forth herein.

29.   The defendant was an employer with less than 500 employees subject to the

provisions of the FFCRA.

30.   Plaintiff was an employee under the FFCRA eligible for paid sick leave and

paid leave.

31.   At the time of her request for leave Plaintiff had been employed by Defendant

for at least twelve (12) months.

32.   Plaintiff requested leave under the FFCRA because she was unable to work

because of a bona fide need to care for her children (under the age of 18) whose

school and child care providers were closed or unavailable due to reasons related to

COVID-19.



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33.     Defendant denied plaintiff’s request for paid sick leave and paid leave under

the Act.

34.     Defendant forced plaintiff to exhaust her personal paid sick leave and vacation

time.

35.     Defendant terminated plaintiff’s employment because plaintiff was unable to

work because of her bona fide need to care for her children (under the age of 18)

whose school and child care providers were closed or unavailable due to reasons

related to COVID-19.

        WHEREFORE, Plaintiff demands the following relief: (1) wages,

employment benefits, or other compensation denied or lost as a result of such

violation including but not limited to back pay and front pay; (2) liquidated damages;

(3) reinstatement to her former position with all her benefits she would have been

entitled to fully restored; (4) a reasonable attorney’s fee; (5) costs of this litigation;

(6) such other, further, and different relief this court deems equitable and just.

                     JURY DEMAND
PLAINTIFF DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



                                         Respectfully Submitted,

                                         s/Charles C. Tatum
                                         Charles C. Tatum, Jr. (TAT009)
                                         s/Seth L. Diamond

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                           Seth L. Diamond (DIA009)
                           P. O. Box 349
                           105 19th Street West
                           Jasper, Alabama 35502
                           (205) 387-0708 Fax (205) 265-2920




    SERVE DEFENDANT BY CERTIFIED MAIL AT:

                        City of Jasper
                  c/o Mayor David O’Mary
                      400 West 19th St.
                      Jasper, AL 35501




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